Case 1:15-cV-O4964-LAK Document 383 Filed 01/26/18 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

YUKOS CAPITAL S.A.R.L., et al.,
Plaintiffs, Case No. 15-4964-LAK

-against-
DANIEL CALEB FELDMAI_\I,

Defendant.

 

AFFIDAVIT OF SERVICE
DANIEL CALEB FELDMAN,

Counterclaim-Plaintiff,
-against-
YUKOS CAPITAL S.A.R.L., et al.,

Counterclairn-Defendants.

 

DANIEL CALEB FELDMAN,
Third-Party Plaintiff,
-against-
DAVID GODFREY, et al.,

Third-Party Defendants.

 

 

MICHAEL J. KENNELTY, being duly sworn, deposes and says:

1. I am not a party to this action. I arn over 18 years of age and reside in the County
of New York and State of NeW York.

2. I hereby certify that on the 26th day of January 2018, l caused a true and correct
copy of Exhibit 2 to the Declaration of Jeffrey D. Brooks, dated January 26, 2018, to be served
on:

Case 1:15-cV-O4964-LAK Document 383 Filed 01/26/18 Page 2 of 2

Robert Glunt, Esq.

Mandel Bhandari, LLP

80 Pine Street

33rd Floor

New York, NeW York 10005

by causing to be deposited a true copy of same enclosed in a postpaid properly addressed
Wrapper in an official depository under the exclusive care and custody of Federal Express Within
the State of New York.

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¢%`LY-’t§“> d _*
MICHAEL J. KENNELTY

SWorn to before me this

26th day of January, 2018

~WW\€J;%

NOTARY PUBLIC

 

MAH|A E JONES
Notary Public. Stata of New ¥ork
No. 01 J061 84782
Quali!ied in Brunx County
Commission Expires Aprll ?, 202§1

